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                            UNITED STATES DISTRICT COURT
                             DISTRICT OF MASSACHUSETTS

                                                     CIVIL ACTION NO. 1:24-CV-10039-LTS



 NORTH END CHAMBER OF
 COMMERCE, et al.,

                       Plaintiffs,
 v.

 CITY OF BOSTON,

                      Defendant.

      DEFENDANT’S MOTION TO DISMISS SECOND AMENDED COMPLAINT

       Now comes the Defendant, City of Boston (the “City”), and hereby respectfully moves this

Honorable Court pursuant to Fed. R. Civ. P. 12(b)(1) and 12(b)(6) to dismiss Plaintiffs’ Second

Amended Complaint against it. As grounds therefor, the City makes the following arguments.

       Counts I and II, brought under the Equal Protection Clause, fail because the City’s 2022,

2023, and 2024 outdoor dining programs treated all restaurants located within the North End the

same and were rationally related to a legitimate government purpose. The Plaintiff Restaurants

have not established that they are entitled to any heightened scrutiny; the City’s classification of

“North End restaurants” is not a suspect class. Under the rational basis test, the Plaintiff

Restaurants fail to meet the threshold requirement of plausibly alleging that the North End is

similarly situated to other neighborhoods for outdoor dining. Further, the City’s policies were

rationally related to the legitimate end of mitigating the negative impacts of outdoor dining as

reported by the residents of the North End.
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       Counts III and IV, based on the Due Process Clause, fail because the Plaintiffs had no

protected property interest in hosting outdoor dining in the public right of way; the City’s policies

were a legislative action to which no notice-and-hearing requirement attached; and the City’s

policies did not implicate a fundamental right, did not shock the conscience, and were rationally

related to a legitimate government interest.

       Count V, a declaratory judgment claim, fails to state a claim because it is wholly derivative

of the Plaintiff Restaurants’ other claims.

       Count VI, which challenges the City’s fees as contrary to state law regarding municipal

powers, fails to state a claim because the fees imposed by the City were in exchange for a

particularized benefit of exclusively obstructing and using the public way received by the Plaintiff

Restaurants, were incurred voluntarily, and were to compensate for services rather than to raise

revenue.

       In addition, Plaintiff North End Chamber of Commerce has no associational standing to

bring this action and should be dismissed if the case moves forward.

       Finally, the Second Amended Complaint, which is 203 pages long and contains 742

separately numbered paragraphs, should be dismissed or struck for violating Fed. R. Civ. P. 8.

       In further support of this Motion, the City respectfully refers the Court to its Memorandum

of Law filed herewith.

       WHEREFORE, the City respectfully requests that Plaintiffs’ Second Amended

Complaint against it be dismissed with prejudice.
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Date: April 5, 2024                                Respectfully submitted,

                                                   DEFENDANT CITY OF BOSTON

                                                   By its attorneys:

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              CERTIFICATE OF COMPLIANCE WITH LOCAL RULE 7.1

       I hereby certify that on March 29, 2024, I conferred with opposing counsel and attempted
in good faith to resolve or narrow the issues presented in this motion.

                                            /s/ Samantha Fuchs
                                            Samantha H. Fuchs
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                                CERTIFICATE OF SERVICE

        I, Samantha Fuchs, hereby certify that on April 5, 2024, a true and correct copy of this
document filed through the ECF system will be sent electronically to the registered participants
as identified on the Notice of Electronic Filing.

                                             /s/ Samantha Fuchs
                                             Samantha H. Fuchs
